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THE HONORABLE JAMES L. ROBART

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08-CV-01827-DECL

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UNITED STATES DISTRICT COURT
WES'I`ERN DISTRICT OF WASH[NGTON

AT SEA'ITLE

LONDI K_ LINDELL
Plaintiff,
v.

CITY OF MERCER ISLAND, a Washington
municipal corporation; MERCER ISLAND CI'I`Y
MANAGER RICl-IARD CONRAD, in his official
and individual capacities; MERCER ISLAND
DEPUTY MAYOR JIM PEARMAN, in his official
and individual capacities; MERCER ISLAND
COUNCILMEMBER ERNEST JAHNCKE, in his
ofEcial and individual capacities; MERCER
ISLAND FINANCE DIRECTOR CHARLES
CORDER, in his official and individual capacities,

Defendants.

 

 

 

 

DECLARATION OF IRA B. APPELMAN
SUPPORTING REPLY ]N SUPPORT OF
MOTION 'I`O QUASH

(Cause No. CV 08-182'7 }LR) Page 0

NO. CV 08~1827 JLR

DECLARAHON oF IRA B.
APPELMAN suPPoRTlNG
RF_.PLY IN SUPPORT 0F MOTION
TO QUASH

NOTE ON MOTION CALENDAR:
December 24, 2010

lra B. Appe]man

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[ra B. Appelman declares and states as follows:

l. 1 am over the age of eighteen, am competent to testify, and have personal
knowledge cf the matters contained herein

2. I am a researcher by training and temperament ln 1967, as a junior at
Mercer Island l-ligh School, I began using the University of Washington main Suzzallo
Library and the law library at Condon Hall to research the national high school debate
topic. Laterl graduated Phi Beta Kappa and Magna Cum Laude from the UW with a B.S.
in Psychology with distinction and a B.A. in Philosophy with college honors. l received a
National Science Fellowship which I used at Stanford University to earn a Ph.D. in
Psychology, a research degree I later was co-principal investigator for a National Science
Foundation research grant at Loyola University cf Chicago. Next l worked as a research
scientist and branch chief in the 0flice of Research and Development at the Central
[ntelligence Agency in Washjngton, D.C. I have done local iinancial and educational
research with my company, Appehnan Research.

3. Between February and May 2009, I disseminated materials on the cover-up
at City Hall related to the Lindell lawsuit fn a previous declaration, I introduced into
evidence the purported Lindell Claim for Damages Form with attachment that was included
in that dissemination Dkt 242-2, Exh. H. Defendant City of Mercer Islancl et al. has
identified the Claim for Damages Forrn with attachment that I disseminated as “Ms.
Lindell’s tort claim form,” Dkt 247, p. 2, lines 9-17. On September 15, 2010, l made a
public records request of the City of Merccr Island for the Lindell Claim for Darnages Form

with attachment, Which the City provided as a heavily biackcd out (redactcd) document

DECLARATION OF IRA B. APPELMAN Ira B. Appelman
SUPPORTING REPLY IN SUPPORT OF ‘ 6213 33“‘ Place s.E.
MOTION TO QUASH Mercer lsland, WA 93040

(Cause No. CV 08-1827 JLR) Page l (206) 232-5411

 

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claiming attorney-client privilege In a previous declaration, l introduced into evidence the
highly redacted Lindell Claim for Damages Form with attachment Dkt. 242-2, Exh. .l.
Cornparing the unredacted Lindell Claim for Damages attachment with the City’s redacted
version, I created Exhibit L, which is a true and correct copy of the redactions made by the
City of Mercer Island as attorney-client privileged

4. The attachment to Lindell’s Claim for Damages Form contains twenty-eight
paragraphs of narrative 'l`he City of Mercer island claims that all paragraphs but the first
eleventh, and menty-eighth, contain attorney-client privileged information Some of the
paragraphs are entirely or substantially redacted (paragraphs 2-10, 12-15, and 17) and the rest
are only partially redacted In E`,xbibit L, the paragraphs are numbered ii'orn 1 to 28.

5. Paragraph 2 contains general information about the City Clerk Tina Eggers
sexual harassment claim against City Manager Rich Conrad. In response to my public
record requests of the City of Mercer Island in 2005 (Dkt. 34 Exh. l; Dkt 37 at 3, Dkt 49 at
6), I received all the information in paragraph 2 including the following and many more
documents: Exhibit M is a true and correct copy of the redacted Conrad disciplinary memo
that explains most aspects of the sexual harassment complaint (Dkt. 48-2, Exh I is the
unredacted version). I included this memo with all my 2009 disseminations. Exhibit N is a
true and correct copy of the bill of Amy Stephson, who investigated the Conradeggers
matter. Exhibit 0 is a true and correct copy of the bill of judicial Dispute Resolution, LLC
that mediated the Conradeggers matter. Exhibit P is a true and correct copy of the
redacted $90,000 check to Eggers. Despite the redactions, I knew the employee was Tina

Eggers because l was given the settlement agreement for the employee who filed a sexual

DECLARATION OF IRA B. APPELMAN Ira B. Appelman
SUPPORTING REPLY IN SUPPORT OF 6213 33“‘ Place S.E.
MOTION TC QUASH Mercer Island, WA 98040

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harassment complaint against Conrad; 1 made another public records request asking for any
settlement agreement given to Tina Eggers, which turned out to be identical to the previous
settlement agreement Exhibit Q is a true and correct copy of then City Attorney Lindeil
explaining to me that the settlement agreements were identical

6. The other redacted paragraphs, three to ten and twelve to twenty-seven,
concern the Segle matter, which was investigated by Marcella Reed. This Court found that
documents concerning the discipline of John Segle and subsequent investigation were not
attorney-client privileged (Dkt. #182} because the Mercer Island City Council had waived
privilege (Dkt. 179). I had hoped to do the same thing for the Segle/Reed redacted
paragraphs as I have done for the Eggers paragraph, i.e. show that each paragraph
corresponds to non-privileges documents available from the City, but the City through its
attorneys has frustrated my efforts to get non-privileged documents as I describe infra 7-10.
l believe this Court is so familiar with these matters,that it can easily determine whether
there is anything coniidentialfpiivileged in the redactions by simply reading Exhibit L.

7. I believe l qualify as an expert (not legal expert) in public record requesting
in Washington State. Over the past nearly 14 years, l have made well over a hundred
public record requests under the previous Public Disclosure Act (RCW 42.17) and the
recodified Public Records Act (RCW 42.56). I have purchased and read the Washington
State Bar Association Pllblic Records Act Deskbook (2006) and have read numerous WA
Supreme Court and appellate court public records act decisions The bulk of my record
requests have been made of the City of Mercer Island. l have also requested records nom

King County, Sound 'I`ransit, the Puget Sound Regional Council (PSRC), the Washington

DECLARATION OF }RA B. APPELMAN Ira B. Appelman
SUPPORTING REPLY IN SUPPORT OF 6213 33“‘ rim s.E.
MOTION TO QUASH Mercer mann WA 98040

(Cause No. CV ott-1827 JLR) Page 3 _ (206) 232-5411

 

 

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Cities Insurance Authority (WCIA), King County Libraries, and the following cities:
Bellevue, Bellingham, Carnation, Cle Elum, Covington, Des Moines, Duvall, Edmonds,
Everett, Federal Way, Issaquah, North Bend, Oak Harbor, Kelso, Kenmore, Kennewick,
Kirldand, Lacey, Lake Forest Park, Lalcewood, Lynnwood, Maple Vailey, Mill Creek,
Monroe, Moses Lake, Mountlake Terrace, Mount Vernon, Mukilteo, Olympia, Pasco,
Redrnond, Seatac, Snoqualmie, Spokane, Tukwila, Walla Walla, Wenatchee, Woodinville,
Yakima and probably others. d

8. In all my public record requests, I have never met anyone more disruptive, less
knowledgeable, and less compliant than Michael & Alexander. By way of background, the
City et al. claimed to have given Ms. Lindell “over 23,000 pages” of documents in response
to her record requests (Dict. 43, p. 2 line l & footnote 1), so I requested those records of the
City of Mercer Island. They forced me to review the records at the law offices of Michael
and Alexander. The public records act requires that the records “shall be available for
inspection and copying during the customary office hours of the agency,” (RCW
42.56.090), that is, the customary office hours of the City of Mercer Island. Michael &
Alexander provided all sorts of excuses for limiting the inspection time of the records -
they claimed they are a small law firm and don’t have space available, then they claimed
they don’t have an attorney on the case available to supervise my inspection When I
complained to Stepha.uie Alexander that they weren’t complying with the act, l was told, “I
don’t want to argue with you.” These excuses substantially interfered with my inspection

of the records, but that is only background for what happened next.

DECLARATION OF [RA B. APPELMAN Il'a B. Appelnlan
SUPPORT]NG REPLY IN SUPPORT OF '; 6213 83“l Place S.E.
MOTION TO QUASH Mercer Island, WA 98040

(Cause No. CV 08-1827 JLR) Page 4 (206) 232-5411

 

 

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9. On August ll, 2010, I requested records including “the Marcella Reed report (or
records indicating results or conclusions) and any other related records based on the 2007
investigation into the propriety of the relationship between City Manager Conrad and
Human Resources Director Kryss Segle.” As required by law, one week later, l received
the City of Mercer lsland’s boilerplate answer that they needed an additional 60 business
days (three months!) to “locate and assemble the requested records and determine whether
any information in the responsive records is exempt.” Exiiibit R is a true and correct copy
of the response nom City Clerk Spictz. I believe three months is unreasonable and so
informed Cierk Spietz in a telephone conversation, but since my only alternative is to file
suit in Superior Court, I waited the three months In my experience, it is the City Attorney
that runs the record request responses (and ultimately the City Manager), not the City Clerk,
Who merely coordinates the response. I have around seven years of experience working
smoothly with Clerk Spietz. On Novernber ll, 2010 (three months iater) I received an
email from the City Clerk claiming another ten days were required. Exhibit S is a true and
correct copy of the additional ten day notice. On November 16, 2010, the City responded
that the records were at “the law Hrm of Michael & Alexander” and gave me three options.
I could (l) contact Michael and Alexander to review the records; (2) wait until the litigation
concluded and the records were returned to the City Clerk; or (3) pay for copying the
records The last hill paragraph begins, “Please respond letting me [Spietz] know which
option you prefer.” The last line of the email reads, “If you have any questions, please
contact me directly. ..” These are standard statements from Clerk Spietz and are important

because of what Michael and Alexander would falsely claim latcr. Exhibit T is a true and

DECLARATION OF [RA B. APPEI_MAN ll'a B. Appelman
SUPPORTING REPLY IN SUPPORT OF 1: 6213 83rd Place S.E.
MOTION TO QUASH Mercer Island, WA 98040

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correct copy of the email nom Clerk Spietz indicating that the records are now available
and (as usual) I should contact her. As is the custom, I both called and entailed Clerk
Spietz. l asked how many pages of records needed lto be copied. l was having such a bad
experience with Michael & Alexander on the first record request, l was looking for a way to
avoid them. However, since in my experience responses to record requests often contain
many duplicates of email as they are forwarded to many people, I wanted to know the cost
before the records were copied. Exhibit U is a true and correct copy of my email to the City
Clerk requesting the number of copies so l could determine the eost. City Clerk Spietz told
me in my phone conversation that she would contact Michael & Alexander to determine the
number of responsive records.

10. Exhibit V is a true and correct copy of an email letter I received the next day
from Thomas I-lolt, an attorney with Michael & Alexander. Mr. Holt iirst falsely claims
that I had “repeatediy telephon " Cierk Spietz (first paragraph, last sentence). Then Mr.

Holt falsely claims that I had been “repeatedly asked to directly correspondence” to them.

 

fn fact, Exhibit X shows I was instructed to contact Clerk Spietz. BUT THE SHOCKING

ANSWER IS THAT lV[R. HOL'I` DOES NOT KNOW HOW MANY PAGES ARE

RESPONSIVE TO MI PUBLIC RECORDS REQUEST BECAUSE THEY HAVE

NO'I` “LOCATED 4§!@ ASSEMBLED” ANY RECORDS AT ALL! In the more than
three months they said they needed to fulfill my record request, they have done NOTHING.

Now, Mr. Holt is asking me to clarify my request, which was supposed to be done when
they acknowledged my request, before they estimated how long it would take to respond to

the request (RCW 42.56.520 “In acknowledging receipt of a public record request that is

DECLARATION OF [RA B. APPELMAN lra B. Appelnian
SUPPORT[NG REPLY I`N SUPPORT OF 6213 3?)"‘l Place S.E.
MOTION TO QUASI-I Mercer Island, WA 98040

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unclear, an agency... may ask the requester to clarify what information the requester is

seeking.). In my fogrteen years of experience mam‘ g record Muosts, I have never

experienced anghing close to this lack of compliance
ll. In 2001, I founded the Mercer Island Comrnunity Council (MICC), a

Washington Non-Proiit Corporation, using a Bellevue law firm to make sure it was
properly filed with the WA Secretary of State. Vl/hen I began getting involved in local
government in 1997, l printed thousands of footnoted articles on my Macintosh LC [li
home computer. I disseminated them by walking throughout the neighborhoods and
leaving them under the front doormat of thousands of homes. On flat land, l could deliver
up to seventy-Hve houses per hour for a maximum of four hours, or to 300 houses before
lhnping home. Exhibit W is a true and correct copy of an article l disseminated in January
of 1998. Mercer Island has large flat areas, but as the land slopes to Lake Washington it
gets very steep making it very difficult to deliver articles on foot. During this period,
Islanders sometimes offered to help pay for the printing of the articles, but l was
uncomfortable putting checks for that purpose in my personal bank account

12. With the MICC, I collected money by including return envelopes and a request
for funds. Voluntary contribuqu paid for additional mailings Postage and printing are
very expensive l have never received any salary or compensation for my time nom the
MICC. Since 2001, I have voluntarily chosen to tile financial reports with the Public
Disclosure Commission (“PDC”), King County Elections, and the City of Mercer Island
concerning the activities of the MICC. Thus, during the 2009 dissemination including the

Lindell Clairn, I filed PDC Forrn C3s and C4s, which showed consistent with PDC

DECLARAnoN oF lRA B. APPELMAN ira B. Appelman
SUPPORTING REPLY IN SUPPORT OF , _ 6213 33“* Ptace S.E.
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(Cause No. CV 08-1827 .ILR) Page 7 (206) 232-5411

 

 

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requirements the contributors to the MICC and how hinds were spent. These filings were
likely not required because there is no candidate or ballot issue. l have been to every City
Council meeting on Mercer Island since April 21 , 1997, and l have received the Key Award
from the statewide Washington Coalition for Open Government for using the Public
Records Act to gather and disseminate information _ _

13. My activities have garnered resentment hom those running the City. l am
currently investigating Mayor Jim Peannan using the Public Rccords Act on an unrelated
matter, which I won’t describe here because he is a party in the Lindell suit. Mayor
Pearrnan hasn’t spoken to me in years though he lives three blocks away and I see him at
the council meetings all the time. On December 17, 2003, Pearman and another council
member, Dan Grausz, attacked me in the Mercer Island Reporter with an article entitled,
“Disinformation undermines community.” Exhibit X is a true and correct copy of that
article. I have studied back issues of the local newspaper, and this is the first instance in
memory where council members have gauged up to attack a citizen l was allowed to reply
two weeks later on December 31, 2003 with an article entitled, “Open discussion builds
community.” Exhibit Y is a true and correct copy of that article.

14. When I began my 2009 disseminations with the M]CC related to the Lindell suit
in February, the City’s lawyers immediately began to investigate the M]CC. Exhibit Z is a
true and correct copy of a March 4, 2009 receipt h'om Stephanie Alexander requesting
MICC Annual Reports from the WA Secretary of State that l received on record request
h'om the City. On April 22, 2009, the Mercer Island Reporter attacked my mailings in three

articles in one issue. Exhibit AA is a true and correct copy of the article, “letter to

DECLARATION OF IRA B. APPELMAN ha B. Appelman
SUPPORT]NG REPLY IN SUPPORT OF 6213 33“' Place sn.
MOTION TO QUASH Mercer island WA 98040

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Islanders accuses city of secrecy, misconduct.” This is a subtle attack. The article first
summarizes my mailing, but then provides the “unvarnished view of the situation.” Exhibit
BB is a true and correct copy of the second article, “What is the ‘Mercer Island Community
Council?”’ This article blames me for using 25% of the City’s record request budget
Exhibit CC is a true and correct copy of an editorial article entitled, “Motives for mailings.”
According to this article, Lindell is behind my writings Hcr use of “privileged and
protected” communications is helping me “sow mist:rust and animosity.. .” It turns out the
City was happy to help the Reporter with its articles Exbibit DD is a true and correct copy
of an email to the Reporter passing on information about the MICC ‘“tbat Katie asked I send
to you,” apparently Without the need for a formal record request Exhibit EE is an email to
the Reporter providing an Excel spread sheet showing the time it takes to do the record
requests As the email states in paragraph., the “Public Records Act does not require the
City to create documents” but Clerk Spietz “created these documents as a courtesy to help
you obtain the information you are looking for."’

15. fn June 2009, aher I had completed the mailings, I filed for the City Council
election on the last day for iiling, Friday, June S'h.l No one including me expected me to
iile. Exhibit GG is a true and correct copy of an article published by the Reporter entitled,
“Election iiling surprises for City Council/ Appelman to run against Grausz.” The Lindell
suit played no part in the election since Grausz is not a named party. The MICC was
dormant during my campaign My campaign committee was “lra for Council.” Grausz is a
bad actor who along with Pearman wrote the article attacking me in 2003. On the last day

for filing he was unopposed, so l iiled. At that point, I had no campaign committee or

DECLAR.ATION OF IRA B. APPELMAN Ira B. Appehmm
SUPPORTING REPLY ]N SUPPORT OF 6213 33"1 Place s.E.
MOTION TO QUASH Mercer Island, WA 98040

(Cause No. CV 08-1827 JLR) Page 9 s (206) 232-5411

 

 

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anyone lined up to help me. Exhibit FF is a true and correct black and white copy of my
last campaign mailing listing the issues of importance to me. The Lindell suit played little
or no part in the campaign

16. l am currently disseminating to Islanders` the Sterbank Memo, the Lindell video
case summary (Dkt 207) and a two-page article describing the continuing cover-up of
misconduct and alleged misconduct at City Hall. Exhibit HH is a true and correct copy of

the latest version of the two-page article.

I DECLARE UNDER. PENALTY OF PERJURY UNDER THE LAWS OF THE STATE
OF WASH]NGTON THAT THE FOREGOH\TG IS TRUE AND CORRECT.

nasd this 23rd day or oecember, 2010 a Mercer Islana, Wasrnngton.

<D,s aff

Ira B. Appelman
DECLARATION OF IRA B. APPELMAN Ira B. Appelman
SUPPORT]NG REPLY ]N SUPPORT OF 6213 33"‘ Place s.E.
MOTION TO QUASH Mercer Island, wA 93040

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DECLARATION OF SERVICE

The undersigned hereby declares under penalty of perjury under the laws of the
State of Washington that, on the below date, I delivered or caused delivery of a true copy of

this document to the following persons:

Mic]:lael & Alexander, PLLC
One Convention Place

701 Pike Street, Suite 1150
Seattle, WA 98101
Stephanie R. Alexander, Esq.
Suzamre K. Michael, Esq.
Thomas P. Holt, Esq.
Attorneysji)r Defendants

at their regular offices

The Blankenship Law Fin_n, P.S.

1201 Third Avenue, Snite 2880
Seattle, WA 98101

Scott Blankenship. Esq.

Nazik Youssef, Esq.
Attomeysfor Plar'ntr']j*'

at their regular offices

The Allied Law Group

2200 SiXth Avenue, Suite 770
Seattle, WA

Michele Earl-Hubbard, Esq.
Atrorneyf:)r Marrjy Gale

at her regular offices

DATED this 23'° day of December, 2010, at Mercer Island, Washington.

(91,.? CNK_/

rra B. Appelman', Pro se

6213 83'“ race s.s.

Mercer lsland, WA 98040-4915
Telephone: (206)232-5411
Email: appelman@bmi.net

DECLARATION OF IRA B. APPELMAN
SUPPORT]NG REPLY ]N SUPPORT OF

MOTION TO QUASH

(Cause No. CV 08-132’3r JLR) Page li

Ira B. Appelman

6213 ss"' race ss

brewer Island, wA 98040
(206) 232-5411

 

 

 

 

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% Exhibit L

“,“. r.

 

 

 

 

 

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City of Mercer lsland'$ attorney-client privilege redactions for paragraphs 1 to 28 of
the narrative portion of Lindell’s Claim for Damages Form attachment

1.
2.

hlo redactions

By way of background in 2003 l defended the City against a sexual harassment claim filed by a
City en'\ployael who had alleged that City Manager Conrad requested sexual relations with her
and retaliated against her when she refused him. The matter was investigated by an
independent investigator. The City consulted with an outside attorney. The matter was
mediated and resulted in the employee leaving the City and being paid a substantial amount of
money. As a result, t:onrad was disciplined He was-suspended without pay for two weeks lone
week stayed}, denied a raise for the following year, and ordered to take sexual and antl-
harassment training

tn addition to Conracl being disciplinedlt then Human Resource Manager Kryss Segle was also
disciplined for her involvement in the matter. The employee had complained to Segle about
Conratl's request for sex and subsequent retaliationf but Segle had failed to conduct an
investigation into the matter as required by the City's Employee l-landbook, and as necessary to
create an affirmative defense for the City.

When Conrad promoted Ms. Segle to Human Resource Manager 1n approximately 2000, she was
directed not to be involved 1n any personnel or employment matter where she would have a
conflict of interest due to her husband's employment at the City. Nevertheless, Mr. Seg|e was
recently disciplined l a very minor form of discipline-a written warnlng) and contrary to the
directive hot to be involved. MS- Segle ral|led directly and affirmatively on behalf of her husband
Notwithstanding her position as Human Resources VDirector of the City, ( a role in which she
should be administering discipline and advocating the City's position) she drafted for Mr. Segle
and the union a very lengthy and detailed grievance asserting a number of factual and
contractual defenses against the City.

Subsequent to submission of the grievance, Ms. Segle also met privately with Conrad on several
occasions During those meetings she informed hini:that she would resign if he did not ensure
that Mr. Seg|e’s discipline would be rescinded and removed from his personnel flle.

Conrad initially responded to Mr. Seg|e’s im portuning by ln fact intervening in the grievance
process and telling Mr. Segle that he would rip up the discipline If Mr. Segle would rip up his
grievance. Former City Attorney Bob Sterbank |earri`ed of this action and wrote a memo to
conrad `

Sterbank had expressed to me and others concern about the nature of the relationship between
Conrad and Ms. Seg|p. Ms Segle and Conrad were seen meeting at restaurants and bars both
during and after work hours, and Sterbank and others saw a similarity between the relationships
Conrad had with the former employee who fried a claim' 1_n 2003, and Ms. Seg|e. Sterbank was
concerned that the nature of the relationship, and some of Ms. Segle's behavior on thejob,
created, if nothing qlse, an appearance of impropriety that could have significant legal
consequences to the City. Conrad made numerous _rg__marks to me, Sterban|< and other City
employees about his relationship with Ms. Seg|e, stating that, for example, he had a special

 

 

 

 

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Case 2:08-cV-01827-.]LR Document 268-1 Filed 12/23/10 Page 15 of 72

connection with Ms. Segle, that their relationship could be compared to a marital relationship,
that he would quit if Ms. Segie resigned and that the main reason he wanted to get up in the
morning was so that he could come to work and see Ms. 5egle. These kinds of incidents and
remarks suggested to Sterbank that the potential for another claim against Conrad and the City
existed and needed to be addressed

l-'ollowing receipt of the memo from Sterbank Conrad became livid and advised Asslstant City
Manager/Parks & Recreation Director Pete Mayer and me that $terbank must be fired. l advised
Conrad that doing so would likely be perceived as retaliatory, and would further expose the City.
Conrad then asked $i;erbanl< to amend his memo, based only upon Conrad’s assertions that there
was nothing really to be ooncemed about. Sterbankrejected the request.

Conrad then asked me on several occasions to get Sterbank to revise his legal opinion. l refused
those requests. Conrad then asked me and Mayer to perform truncated investigations into the
issues raised in Sterhanl(s memo for the purpose of`clearing Conrad's name. Conrad proposed
drafting the questions himself, sitting in the room during questioning of the witnesses, only
talking to three directors, prohibiting review of emai|s, and other procedural steps that were not
likely to lead to an untainted result. When Mayer and l refused to be part of such a process,
Conrad wrote: ”l can't trust my top advisers" and ”ilvhen are you guys going to let me lead my
City?”

Frustrated Conrad then set up a full day facilitated discussion with one of his colleagues, former
City Manager Anne Pflug. The purpose of this discussion was to achieve Conrad's desire to have
"hls name cleared." l sent an emai| to Conrad and others indicating my objective from this
facilitated discussion was to resolve the management issues arising from the Segle discipline
matter so the organization could move forward. My. email clearly stated my objective was not to
commence an investigation by a third party. Pflug interviewed Kryss Segle, Maintenance Director
Boettcher, Conrad and Sterbank. Pf|ug then advised Sterbank, me, Mayer and Conrad that in
order to be effective, the City really needed an investigation by an outside neutral third party.
Conrad agreed to Pflug's proposed investigation ....w_as a decision sought by Conrad in order to
clear his own name.., `

No reductions

The City retained Marcel|a Reed to perform the independent investigation into Conrad's
relationship with Ms. Segle. Conrad refused to allow City Attorney Sterbanic to act as legal
counsel for the City so the City was required to retain Mike Bolasina, outside legal counsel. The
parties all agreed that they would not discuss with each other the subject matter of the
investigation and it would all remain confidential pending completion of the investigation
Conrad was specifically directed by Mlke B olasina n__ot to discuss the investigation with witnesses
and not to retaliate against anyone as a result of thel investigation

Almost immediately upon commencement of the investigation, in November of 2007, and in
violation of the City'r. legal counsel's directive, Conrad began meeting individually with Council
members to disparage and retaliate against me and _‘.il_:erbank. lnitially, conrad alleged that he
had done nothing wrong, that Sterbank was a poor performer and a bad organizational flt, and
that Sterbank was using his memo to protect himself from getting fired. Later, when Conrad
learned that my testimony to the investigator was potentially damaging to his case, he alleged l

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Case 2:08-cV-018_27-.]LR Document 268-1 Filed 12/23/10 Page 16 of 72

was conspiring to get him fired so l could have his job. Conrad also had numerous meetings with
Police Chief Ed Holm_es, Finance Director Chip Corder, l(ryss Segle, and Assistant City Attomey
Katie Knight, for the purpose of influencing their testimony to Ms. Reed, convincing them his
relationship with Ms. Segle was merely professiona|, and disparaging Sterbank and me.

A|so during this November and December 2007 time .frame, Conrad had been lobbying me to
support him when l was interviewed by Marcella Reed. He repeatedly placed me in an awkward
position by raising issues relating to the investigation and demanding that | report things to Reed
in a certain way so that he ”can trust” me. When l responded that l would tell the truth and
would not put a “spin" one way or the other on the questions posed to me, Conrad stated “that
might not be good enough.” Conrad also told me repeatedly that l "‘was the key" to his name
clearing and suggested that if | didn't contact the City Council and advise them he had done
nothing wrong,-my silence wouid act as an indictment of him. l reminded Conrad that outside
legal counsel had directed us not to improperly interfere with the Reed investigation and
according|y, | would not lobby City Counci| mem bers.

Ms. Reed, an experienced third party investigator, had commenced a detailed and professional
investigation into the allegation that Conrad's conduct violated the City’s anti- harassment policy
and other applicable law. Ms. Reed briefed the City Council in executive session on December 3
2007 just prior to the completion of her investigation Then-Mayor Caims had warned City
Council members prior to this executive session that Ms Reed would be providing them a status
report on the investigation and that “things weren t looking good for the City Manager, and the
Council may wish to discuss options.” _
Council abruptly aborted the investigation and told Ms. Reed that her services were no longer
required....assuming responsibility for completing the investigation......issues related to sexual
harassment...from Conrad's and Kryss Seg|e's misconduct...

unencumbered by the written findings of the independent investigator, the three Council
members reported their new findings to the full City Counci| and concluded that Sterbank wrote
the legal memo only because he was having performance issues, and that l improperly pushed
for the investigation because l wanted Conrad's job,_r_`i'he decision to retain an outside third party
investigator and attorney.... by Pflug prior to Pflug's unsolicited recommendation that a full and
independent investigation be conducted " q

investigator Reed’s work....no wrongdoing by Conrad and Segle.

into Conrad's alleged misconduct... _ 7

....into the conduct of Conrad and Segie....it was Conrad himself who mandated that there be an
investigation ..... in drafting Sterbank's memo... 1 v

into whether Conrad had an inappropriate relationship with Ms. Seg|e....These are the issues
that were investigated by Marcel|a Reed. n

...Conrad, who overheard ali or most of these rematl<js, never counseled .lahncke about their
impropriety [other than when Jahncke sent an email`to Conrad and certain male department
directors showing a video regarding men that can only stare at women's breasts when they are
speaking to woman).

...Marce||a Reed's independent investigation

 

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The parties had been directed by legal counsel not to have any contact about the investigation
while it was being conducted "r'et, Corder and Conrad met to discuss exactly that

matter ..... Conrad and Corder fabricated facts to convince the City Council and other witnesses
that | had entrapped Conrad and Segle into engaging in their respective misconduct, and that my
ultimate goal was to be promoted to City Manager after Conrad was fired....the Council
ultimately adopted this theory and ran with it. 1 '

...who later took over the investigation...and the subsequent Sterbank memo...

...The real purpose was to discuss an investigation into potential misconduct by the City
Manager... "complaints or charges brought against a public...emp|oyee” per RCW
42.30.110(1]{f]... performance and discipline of a public employee per RCW 42.30.110(1)(g)...the
Investigation into possible City Manager misconduct,.;by deciding to terminate Marcei|a Reed's
services; take over the investigation; terminate myself and the City Attorney; approve a
separation agreement with Sterbank; and determine_the appropriate discipline for Conrad’s
misconduct... -

..with a personnel investigation into whether the City Manager's conduct created a hostile work
environment or were created m connection with disciplining the City Manager or l<ryss Segle' in
connection with such misconduct
No redactions

 

 

 

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Exhibit M

 

 

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Memornndum

 

 

City Coimcil
Date: . October 16, 2003
To: Richard ivl. Conrad. City ivlanager
From: Alan R. Merkle, Mayor
RE: ` Harassment'Complaint

 

-,_

` .C_emp_.da_is_f

On Septeml:)er 26, 2003, Deputy City Manager Deb Sym'monds and City Attorney Londi
Lindell received a sexual harassment complaint from a female City employee
(“Complainant"), through herlegal counsel,` alleging that you had engaged in quid pro
quo sexual harassment and that your conduct had created a hostile work environment.`

Quid pro quo harassment occurs when a supervisor offers some tangible benefit or

» threatens some tangible harm in return for sexual favors. A hostile work environment is
created when four factors exist (1) the conduct is unwelcome; (2) the employee would
not have suffered the harassment if she had been of a different sex; (3) the harassment
was sufficiently pervasive to alter the conditions of employment and create an abusive
work environment and [4) the harassment is attributable to the employer

The City of Mercer island anti harassment policy, a copy of which is attached as
Exhibit "A" ("Po|icy”), prohibits any harassment of employees and authorizes the City
Atlorney`s Oi'fice to direct an investigation into any harassment complaint

Upon receipt of the complaintl the Deputy City Manager immediately assumed

‘.responsibiiity from you for supervising the Complainant. The Deputy City _Manager also
assumed the role of “Acting City Manager" for purposes of managing the investigation
of this complaint You were directed to avoid all contact with the Complainant during
this investigation

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Consisteni with the Policy. the City Atiorney immediately commenced an investigation
into this complaint On Sept.ember 26, 2003, the City retained an independent
investigator and lawyer, Amy Stephson, to perform the investigation Ms Stephson
interviewed the Complainant, you and ali appropriate witnesses |n response to the
Cornplainant’s request that you be immediately placed on administrative ieave, you

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were directed to telecommute from your residence and not be on City l-lall premises
during normal working hours until this investigation was concluded Ms. Stephson
completed an investigative report, dated October 15 2003 (“ Report")

A review of the Report together with legal advice leads to the conclusion that you have
not engaged in quid pro quo sexual harassment and that your conduct has not created
a hostile work environment However it also leads to the conclusion that your conduct

was inconsistent with the Po|icy, which sets a stricter standard and provides in pertinent
part, as follows:

City policy also prohibits “behavior that interferes Wfth a positive work
environment"_' (emphasis added)

Your conduct described in the Report did interfere with a positive work environment
between you and the Complainant. As City Manager, you are expected to not only
adhere to all City policies. but that you will be an exemplary model of professionalisrn
` for your staff. Your decision to enter into and maintain a nonprofessional, personal
relationship with the Complainant constitutes poor judgment Your decision not to
immediately advise the City Attorney of your actions that lead to the complaint was also

poor judgment - .
Discigline

The City Council previously delegated authority to me to manage your employment
relationship with the City and |`have done so for the last several years

l have consulted with the City Council and with its concurrence have concluded you will
be disciplined for your actions as follows:

Sus ension

(i) Two weeks’ suspension without pay to commence immediately on Friday
October 17, 2003;

(2) One week of the two-week suspension without pay will be stayed conditioned
' upon you obeying all City rules, and not being disciplined for any other matter for
a period of one (1) year', and

(3) You may not use sick lleave vacation, holiday or compensatory time to satisfy
this suspension

Future Contact with Complainant

ill

20f2"

 

 

` (6)

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You are prohibited from taking any action that constitutes retaliation against the
Cornplainant.

Your ongoing relationship with the Complainant will be monitored by both
Ms. Symmonds, as her supervisor, and me, as your supervisor, to confirm you

are complying with the foregoing restrictions on future contact with the
Complainant. ,

Other Discigline

(1)

(2)

(3)

For the year 2003 you will not receive a salary increase to your base 2002
salary compensation; .

For a period of one year, any overnight travel by you on behalf of the City must
be approved by me as to both the purpose of the conference and any additional
City employee attendees; and

You will immediately undertake sexual and and-harassment training

Obviously, this is a serious and unfortunate matter. Your performance as City ivlanager
in all other respects has been exemplary, and you are highly regarded by City
employees administrators managers and elected off cials throughout the region

,However, this type of conduct will not be tolerated or permitted notwithstanding your

`oth er contributions

Accordingly, you are urged to take this matter seriously and take all necessary steps to
prevent further occurrences Any further conduct of a similar nature could result in
termination of your employment

CCZ

Mercer island City Council:

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Exhibit N

 

 

 

 

 

 

 

 

Case 2:08-cV-01827-JLR Document 268-1 Filed 12/23/10 Page 23 of 72

Arny']. Str~:phsonA

 

ATTORNEY AT !.A.W

Date: October 21, 2003 _
To: City Attomey Londi K. Lindell
` City of Mercer leland

9611 S.E. 361.‘-11 Streel: 1

Mercer Island, WA_ 98040-3732 1

l Invoice

Re: htvestigative Services for City Ati:orney
Fee and Expenses: $10,440 1
Thank you. k

° Amy ]. Stephson

Phone-. label 223-rats
r=ax: racial aaa*??es

E~»rnait: armyetep@aol.-.oom

R-ECEll/-ED
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Case 2:08-cV-01827-.]LR Document 268-1 Filed 12/23/10 Page 24 of 72

Exhibit 0

 

 

 

 

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Exhibit P

 

 

 

 

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Memo: full & final settlement _ '1

 

 

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Exhibit Q

 

 

 

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" '~ . . l01+“11“111:1:¢: or THE clTY ATTORNEY

96118.1-3. 36111 Street - Mercer Island, WA 98040-3732 l
(206) 236-3571 ’ FAX: {206) 236-3651
www.ci.mercer-island.wa.us

 

Octobcr 25, 2005

]ra B. Ap|pehnan
6213 83 Place SE g _
Mercer Island, WA 98040-4915

Re: Public Reoords Act Requcst

Dcar Mr. Appe]man:

ln response to your recent phone request regarding the City’s Octobcr 14, 2005 Response to your
Request for Access to Public Records dated Septcm'ber 9, 2005, we arc providing you another redacted
copy of the Settiement_ and Release Agrocment dated October 27, 2003, which document was listed as
Item No. l in the.City’s October 14, 2005 ;Rcsponse. As indicated in that lettcr, we had previously
provided this document to you. The reasons listed' m our Septembcr 2, 2005 Response to your August

15 2005 Public Records Request for redacting this document remain the same in forwarding this
document to you agam

Should you have any additional questions, please do not hesitate to contact me.
Siuc ercl, 5

ends 7(/<:\7:¢»¢@»¢€/

Londi K. Lindell
City Attorney

Enclosuro: Redacted-'ScttlementAgreemeut 1

C: City Cler'k’

Telecvmmtmlcntiol$ De\'ice _ ' Printed arkaqu t’apar
for the D¢lf [206) 132-9598 - , ' _

[_

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1 Exhibit R

 

 

 

 

 

 

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Tue, nec 21, 2010 9:13 PM

Subject: Request for public Reoords No. 10-411
Date: Wednesday, August 18, 2010 3:18 PM

From: Ali Spietz <Ali.Spietz@mercergov.org>

To: "Ira _B. Appelman" <appeiman@bmi.net>
Conversation: Request for Public Records No. 10-4`11

Ira, .
Attached is a letter regarding your records request.

Ali , 1

10-411.pdf <cic| :afd48c8d-89b7-4aee-93b8-f3739a286d56>

Ali Spietz, MMC | City Clerk/ Public Records Officer

City of Mercer Island l ww .rn er v. r < tt : w .m r er v.or >

P: 206.275.7793 | F: 206.275.7663

NOTICE OF PUBLIC DISCLOSURE: This e-mail account is public domain. Any
correspondence from or to this e-mail account ma y be a public record. Accordingly,
this e~mail, in whole or in part, may be subject to disclosure pursuant to RCW 42.56,
regardless of any claim of confidentiality or privilege asserted by an external party.

 

 

 

 

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Case 2:08-cV-01827-.]LR Document 268-1 Filed 12/23/10 Page 32 of 72

CITY GF MERCER ISLAND, WASHINGTON
961 1 ss 36‘* sims » tim ram, wa situations
[206} 275-7600 * www.mercergov.org

 

VIA EMAIL AND US HA|I.

august ie, amc

lre Appelman
sara ae" Piacs se
Mercer leland, WA 98040

Fle: Roquooi for Public Rccords No. 10-411

Doar Mr. Appelman:

On August 11, 2010. the Ciiyoi Mercer isiand received your public records request iorthe
following:

(1) the Amy Siepheon report and anyother rotated moorde based on the investigation ot a2003
sexual harassment charge against the City Manager Conrad by than City Glerlr Tina Eggere.
The City denied ames to this report in response to my 8!15/05 record request Since then
the WA State Supreme Ccurt has decided that an investigative report is a “city document
subject to disclosure under the PFtA" {Morgen v City ct Federal Way, 166 Wn.zD 747 -
(2009)). l have attached the 11l18/03 Purchase Cirder to Amy J. Stephaon showing she
was paid for "lnvestigative Services,” not legal advice.

l2) the Maree\la Reed report ior records indicating results or mcmann and any other raich
records based on the 2007 investigation into the propriety ot the relationship between City
Manager Conrad and Human Fleeources Dlrecicr Kryss Sogle.

Pursuant to HCW 42.56.520, the City requires an additional sixty (60) business days from the
date of this letter in order to respond to your request to locate and assemble the requested
records and determine whether any information in the responsive records is exempt

li you have any questionsl pieces contact me dimily at (206) 275-7793.

Sincerely, ‘

 

     

Allison Spiatz,
City Clerk l Public Recorde car
City of Mercer leland

 

 

 

 

 

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Exhibit S

 

 

 

 

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ease 2:08-cv-01327-JLR Document 268-1 Filed 12/23/10 Page 34 or diggs 1 Of 1

ira B. AEEiman

From: "All Spletz“ <Ail.Splelz@mercergov.org>
To: "lra B. Appetman" <appeiman@bmi.net>
Sent: Thursday, Novemb_er 11, 2010 10:45 AM
Subject: Request for Public Reoords No. 10-411

Please reply by small to let me know you have received this emal|.
Mr. Appe|man,

Pursuant to RCW 42.56.520, the City requires an additional ten (.10} days from the date of this small in order to
respond to your records request below to locate and assemble the requested records and determine whether
any information in the responsive records is exempt.

Request for Public Records No. 10-411 requests the foliowlng:

{1] the Amy Stephson report and any other related records based on the investigation of a 2003 sexual
harassment charge against the City Manager Conrad by then City Clerk Tina Eggers. The City denied access
to this report in response to my 8/15/05 record request Since then the WA State Supreme Court has
decided that an investigative report is a “city document subject to disclosure under the PRA" (Morgan v City
of Federal Way, 166 Wn.ZD 747 (2009]). l have attached the 11/18/03 Purchase Order to Amy .l. Stephson
showing she was paid for “investlgatlve Services,” not legal advice

(2) the Marcella Reed report (or records indicating results or conclusionsl and any other related records based
on the 2007 investigation into the propriety of the relationship between City Manager Conrad and Human
Resources Director Kryss Segle. ‘ - `

P|ease let me know if you have any questions.

All Spletz, MMC l City Cierkl Public Records Ol`“flcer

P: 206.275.7793 l F: 206.275.7653

NOiiCE OF PUBi.iC DISCLOS UHE: Tn`is e~rnoii account is public domain Any correspondence from or to this e-moil account
may be o public record. Accordfngiy, this e-moil, in whoie or in pnrr, may be subject to disclosure pursuant to RCW 42.56,
regardless of any claim of confidentiality or privilege asserted by on external porty.

 

 

12/21/2010

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Exhibit T

 

 

 

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ease 2:08-cv-01327-JLR Document 268-1 Filed 12/23/10 Page 36 of 7§’3€€ 1 °f2

ira B. AEEalman

From: "Ali Spielz" <A|i.Spieiz@meroergov.org>
To: "Ira B. Appelman" sappe|man@bmi.net>
Sent: Tuesday, November 16, 2010 12:04 PM
Sub]eot: public Reoords Raquest No. 10-411

Please reply by emall to let me know you have received this email.
Mr. Appe|man,
Request for Public Records Request No. 10-411 requests the following:

(1) the Amy Stephson report and any other related records based on the investigation of a 2003 sexual
harassment charge against the City Manager Conrad by then City Clerk Tina Eggers. The City denied access to
this report in response to my 8/15/`05 record request. Since then the WA State Supreme Court has decided that
an investigative report is a "city document subject to disciosure.under the PRA” (Morgan v City of Federal Way,
166 Wn.ZD 747 (2009)). l have attached the 11/18/03 Purchase Drder to Amy J. Stephson showing she was paid
for "lnvestigative Services,” not legai advice.

(2) the Marce||a Reed report (or records indicating results or conclusions} and any other related records based
on the 2007 investigation into the propriety of the relationship between City Manager Conrad and Human
Resou rees Dr rector Kryss Segle. ` -

The City responds as follows:

(1] These records are exempt from disclosure pursuant to RCW;42.56.290: Current Controversy; and RCW
5.60.050: Attorney-C|ient Privi|_eged Communicatlons and/or attorney work product. Ms. Stephson’s materials
were prepared in anticipation of potential |itigation. Ms. Stephson is an attorney, and was acting in her capacity
as such. Ms. Stephson’s materials are both attorney~client privileged and Ms. Stephson's work product. The
City disagrees that the Supreme Court’s opinion' in Morgan v. City of Federal Way applies' ln the manner you are
claiming.

[2} These records are at the offices of the law firm Michae| 81 Alexander, PLLC in downtown Seattle. There are
three options for viewing the reoords:

1. Contact Michae| & A|exander at (206) 442-9696 to set up a mutually convenient time to view the
records;

2- Walt Until the litigation has completed and the records are returned to the City to view the records; or

3. Pay for copying charges to have the records copied.

P|ease respond letting me know which option you prefer. P|ease be aware that certain documents have
been produced to the plaintiff by the City ln the case of Lindell v. City of Mercer |sland, et al., that are subject to
a protective order, and which are exempt from production under the Public Records Act. When you have
indicated to me your preferred method of viewing the records, the City will provide you with a detailed log of
the materials that are subject to the protective order in the lawsuit, and which are exempt from production
under the Act.

if you have any questions, please contact me directly at (206] 2?5-7793.

Ali Spletz, MMC | City C|erk/ Rublic Records foicer

12/21!2010

 

 

Case 2:08-cV-01827-.]LR Document 268-1 Filed 12/23/10 Page 37 of 75“36 L nw

City of Mercer ls|and l wmerce;goM

P: 206.275.7793 l F: 205.275.7653

NO?`!CE OF PUBUC DlSCLO$URE: This e~moil account is public domain Any correspondence from or to this e-moii' account
may be a public record. Accordingly, this e-moil, in whole or in port, may be subject to disclosure pursuant to RCW 42.55,
regardless of any claim of confidentiality or privilege asserted by an external porty.

12/21)'2010

 

 

 

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EXhibit U

 

 

 

 

 

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ease 2:08-cv-01327-JLR Document 268-1 Filed 12/23/10 Page 39 of less 1 nfl

lra B. AEElman

From: "lra B. Appelman" sappelrnan@bmi.net>
To: "A|i Spietz" <A|i.Spielz@meroergov.org>
Sant'. Monday, Deoember 06, 2010 4:00 PM

Suhject: Re: Public Reoords Raquest No. 10-411

Dear City Clerk Spietz:

l am trying to decide based on your three options How many pages are in (2) Marce|la Reed report and related
reoords. Once l know how many pages there lare, l'll get back to you on which option l will follow.

Thank you.

|ra B. Appelman
6213 33rd Plaoe S.E.
Mercer |sland, WA 98040-4915

appel_man@bmi.net
(206)232-541 1

--- Origina| Message ---

From: )';~li_§_i>£ll

To: ira B. Appelrnan

Sent: Tuesday, November16, 2010 12:04 PM
Subjact: Public Recorda Request No. 10-411

Please reply by email to let me know you have received this emall.
Mr. Appelrnan,
Request for Public Records Request No. 10-411 requests the following:

ill the Amy Stephson report and any other related records based on the investigation of a 2003 sexual
harassment charge against the City Manager Conrad by then City Clerk Tina Eggers. The City denied access to
this report in response to my 3115/05 record request. Since then the WA State Supreme Court has decided
that an investigative report is a "city document subject to disclosure under the PRA” (Morgan v City of Federal
Way, 166 Wn.ZD 747 [2009)). | have attached the 11/18/03 Purchase Drder to Amy J. Stephson showing she
was paid for ”|nvestigative Services,” not legal advice. '

(2) the Marce|la Reed report for records indicating results or conclusions) and any other related records
based on the 2007 investigation into the propriety of the relationship between City Manager Conrad and
Human Resources Director Kryss Segie.

The City responds as follows:

 

(1] These records are exempt from disclosure pursuant to RCW 42.56.290: Current Controversy; and RCW
5.60.060: Attorney-Cllent Privlleged Cornmunicatlons and/or attorney work product Ms. Stephson‘s materials
were prepared in anticipation of potential litigation. Ms. Stephson is an attorney, and was acting in her
capacity as such. Ms. Stephson's materials are both attorney-client privileged and Ms. Stephson's work
product The City disagrees that the Supreme Court's opinion in Morgan v. City of Federal Way applies in the
manner you are claiming._

 

 

(2) These records are at the offices of the law firm Mlchaei &rAlexander, PLLC in downtown Seattle. There

12/21/2010 l

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are three options for viewing the records:
1. Contact Michae| & A|exander at (206) 442-9696 to set up a mutually convenient time to view the
records;
2. Wait until the litigation has completed and the records are returned to the City to view the records; or
3. Pay for copying charges to have the records copied.

Please respond letting me know which option you prefer. Please be aware that certain documents have
been produced to the plaintiff by the City in the case of Lindell v. City of Mercer ls|and, et a|., that are subject
to a protective order, and which are exempt from production under the Public Records Act. When you have
indicated to me your preferred method of viewing the records, the City will provide you with a detailed log of
the materials that are subject to the protective order in the |awsuit, and which are exempt from production
under the Act.

lf you have any questions, please contact me directly at (206} 275~7793.

Ali Spietz, MMC 1 City C|erk / Public Records Officer

City of Mercer island | www.merce_rggr_.glg

P: 206.275.?793 f F: 206.275,?663

NOT!C.`E OF PUBLiC D!SCLD$URE: This e-moii account is pubiic domain Any correspondence from or to this e-moii account
moy be o pub!ic record. Accordingly, this e-rnoii, in whole or in port, moy be subject to disclosure pursuant to RCW 42.56,
regardless of any claim of confidentiality or privilege asserted by on external pony.

1201/2010

 

 

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Exhibit v

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MIGHAEL i_r` ALEXANDER puc
Tl'romo.r P. Hol'r‘
corn 442-9696
rom@michaelandciemnder.com
Dccember 7, 2010

VinEmer'l

iraB. Appelman

6213 83rd Place S.E.

Mercer lsiand, WA 98040

app elman:`rr`.‘bmi.net

 

Rc: olu"Me rlsl IicR sR c tsNos. l -4 6 d 10-411
Deaer. Appelman:

It has come to our attention that you have made various additional requests for
information directly to City of Mercer Island employees in relation to your two requests
for public records identified by the City as Reun No. 10-406 and chucst No. 10-411.
Specifically, we understand that you have repeatedly telephoned Mercer Island City
Clcrk A]i Spietz and requested that she identify for you the number of pages present in
certain records responsive to your requests

As has been communich to you on numerous occasions, the records responsive to
requests Nos. 10~406 and 10-4]1 are not physically present at the City cf Mercer Island`s
City Hall, but arc instead at our offices This is a result of our role as defense counsel in
the lawsuit Lindell v. City of Mercer Island er al., United Statcs District Court, Wcstiem
District of Washington No. C08~1827JLR. Based on this circumstaan you have been
repeatedly asked to direct correspondence related to your requests Nos. 10-406 and 10-
41 l to our oHiccs, rather than to City Hall.

On behalf of the City, we are now reiterating that request Thus, once again, if you have
questions related to chucst No. ill-406 andfor chucst No. lO~¢lll, please direct those
questions to our offices not to City Hall. Of coursc, if you have any new requests for
public records from thc City of Mercer Island, such rcun must be made directly to the

City through its regular procedures Such requests are not effective if made to us, as we
arc not a public agency

F_ puts .r.;'z cline § 205 ;..;:-. qiiqt,\ `_ to! him ‘§¢T-.-\.- ‘_1.;-»¢»¢:‘..¢, ~`L.-, =';¢ ‘-*. '\-\_:'-;r.'i : \-~.'.1-. michaelaodalexan.der,w-m

 

 

 

 

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ha B. Appelrnan
December 7, 2010
Page 2

With respect to your specific inquiries, we understand that you want to know how many
pages exist in what you have identified in your request No. 10~41 l as the “Marcella Reed
report (or records indicating results or conelusions) and any other related records based
on the 2007 investigation into the propriety of the relationship between City Manager
Conrad and Hurnan Resources Director Kryss Seglc.” Per Ms. Spietz’s email response to
Request No. 10-411 dated Novcmber 16, 2010, we can provide you with a page count of
the requested records in order for you to determine whether you would like to have them
duplicated fn order to do so, however, we require further clarification as to the nature of
your request, as there is no specific record that fits the description of “Marce]ia Reed
report (or records indicating results or conclusions).” lt` you wish us to calculate the
number of pages for a more specific request, please contact us'at your convenience to
discuss the nature of the records sought -

Very truly yours,

LdICl-IAEL & ALEXANDER PLLC

 

TPH:ss

cc: Katie Knight, ESq.
Ali Spietz
Suzanne Michael, Esq.
Stephanie Alexandcr, Bsq.

cynthia seaman
651 28

 

 

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EXhibit W

 

 

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QC VILLAGE
REZONE U DATE II

Hollywood Video developers still refuse to reveal their Q_I-'C Vlllage site plan.
Planning Cornmlssioner Ledbetter admits secret business talks with developer

Truth about rezone: Ma_vor Cltbborn & City Council Lejected "senior
housing."

 

Cl'I'Y OF MIERCER lSLAND
ORDINANCE NO. 97C-004

(Exc erpts: Full ten available in Mercer Island Reporter 5/14/97 and from City Hall 236-5300)
PARTl GENERAL PROV'|SIONS
A. Purpose
The purpose of the planned business zone is to prelude allocation for a mix of sinall scale neighborhood oriented business ofhce, sendce. public and
residential uses 111 high quality. cocrdioawd developments which are compatible with adjacent residential areas pamelali m coe m will be stolen
requirements and design standards as further set forth hereto
B. USE PERMI'I"I`ED ' "

§§ PDuabllc utility and governmental buildings or structures including art gallm~les, libraries and museums.

y care

(3) Su'uctures for use of licensed practitioners (dentlsts, physicians etc. )

(4} Barber shops and beauty shops

lSl nuslnessorprofesstouals\:udiosand busmessorprofesslonal omce,s.

(6) l-land laundries clothes cleaning agencies and pressing shops

(7) light automobile repans, battery service and tire shops, service sections and self-conde public garages Open spaces 1a this zone may

not he used for storage dlsplay, or sale of used vehicles or equipment

(8) l.ocltsmiths, shoe repairing tailoring and similar light reer shops

{9) Print:ing cstablishments and newspaper printing

(10) Reul estate sales offices

¢11) Restaurants, cafeterias cacenng. .

(12) Retail stores and personal service shops

{13) Ba.t‘llts and theaters

(14) Recreatiooal area commercial; provided that. teeu dances and teen dance halls as defined herein are nor penoltted uses.

(15) H_lgh technoloy, biomedical, or business including light assembly, clean manufacturing and research development

(16) Sin,gle family residences limited to single family detached, single family seml-detached, townhouses, and patio homes

(17) Commer¢:ial public storage facllitles, including screened outdoor storage and indoor storage and accessory carecaker oche/resldenl:;

provided such use shall not abur 84th Ave`nue SE or SE odds Street.
C. USE ENCOURAGED
Provtded that there is transit service available a sheltered transit stop and associated parldng(‘ 'transit ceoner") shall be a public beneflt feature encounter
PBZ. Approprlate incentives for the inclusion of a transit center in the PBZ shall b_e established by the Deslgn Commlsslon in conjunction with review am
approval of a PBZ Sine Plan and Ma]or New Construcdons
PART lI DEVELOPMENT STANDARDS- GENERAL
A. BUI~`FER REQH[RBMBNTS
All structures and off-sheet parking shall be setback from the perimeter property-line of the PBZ as follows:

(1) Adjacent and parallel to 84th Avenue SE - seventy-live feet (75'}

(2) Ad]acent and parallel to SE 68th St. for 200‘ east of the intersection of SE 68th Sueet and 84th Avenue SE - thirty-live feet (35')

(3) Beglonlng from a point Sever\ty-Hv€ feet (75' l east of me southwest corner of the zone east to a point three hundred forty live feet (345‘) from the

southwest comer- seventy-live feet (75' ) for nonresidendal uses -twenty\flve feet [25' ) for residential uses.

(4) The remainder of the zone- tweuty-five feet (25' )- zero feet lo) where the boundary is adjacent to the Fire Stauon and utilities subsmuon.
PAR'I` IV D}NEIDPMENT STAN'DARDS- -RESIDENTLAL
A. CRl'l`ER]A FOR RESD}EN'HAL UNl'l'S
The intent for residential development in PBZ is for a variety of smaller size housing units than the surrounding neighborhood developed in a planned l
coordinated manner No residential units shall be located under or over another unit or within a commercial structure
B. B'UlILDlNG HEIGHT UM'II'
No residential structure shall be erected to a height l.n excess of thirty($O) feet. Apptn'tenarlces as specifled in Sectlon 19. 04. 0501 SINGLE FAMILY of this
may extend co a mazdmum cf hvel$) feet above the height allowed for me snucnli~e..
C. PARCEL AREA REOHIREMEN'IS
For all residential parcels, the average parcel size shall be 7200 square feet, including access driveways and other amenities included in residential parol
D. GROSS FLOOR AREA AND LUI` COVERAGE
For all residential parcelsl the gross floor area ratio shall not exceed 45% and the lot coverage shall nor exceed 35%, provided that no residential sirqu
shall exceed 2800 square feet, including garage Excepdons to the lot coverage shall be allowed as established in Secdon 19 ..04 0502 of this l:lrle.
F. milliqu NUMBER or nrso)sNTlAL uNrrs _ f _\

m The malcmum number arresldenoal units showed ln the l=sz shall be 30. -':

(2) The maximum number of armched units in any single structure shall be no inure than four.
PARTV]I DEFH‘lmONS
D. PA’I'IO HOME- A single family residence on a separate parcel with open spaces ou three sides and with a court
l=. smoLc-PAMILY- -Smu>crncnnn- n residence mat is attached to another dwelling mm by a common vertical wall, with each dwelling unit located fm
separate lot.
G. ‘I`OWNHOUSES- -A single family residence which has a front and rear yard. No dwelling unit ls located over another dwelling unit. Eacl:l dwelling uni
separarodfromanotherunitbyomeormoroverdcalcommonwalls.

 

 

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SPECIAL PRIVILEGES FOR WELL-CONNECTED DEVELOPERS

1/29/98

QFC still owns the Sllopping Center. Developers O'Shea and Lewis have
applied to divide the Center into five parcels (lots) to facilitate financing The
staff was going to approve the division without a public hearingl. I filed an
objection because City Code requires a mimthng where the developers
must present their Sitc_Blan for Q_FC Village. Now the developers have applied
for a Sp_e£laljllalle£ so they can divide the land without a public hearing
where they would have to present their Site Plan. On December 31'd the
Planning Comrnission granted the waiver. Some`of us appealed This Monday,
February an, the City Council will consider whether the developers deserve
the special waiver.

From the beginning, the developers refused to reveal their plans Last
March, l attended the Planning Commission meeting where O'Shea and Lewis
proposed the rezone of QFC Village. My neighbors said that O'Shea and Lewis
were the HQllJmLO.D.¢L¥l$l£lLd£lelD.p.eL& so wei"could not be too careful, and
we wanted to see the Site Plan before they got the rezone. The developers
responded that it Was too expensive to produce a plan of what they intended
to build until they knew they had the rezonez. So they got the rezone, adding
housing and business park uses to Q_FC Village, without showing their plan.

Though the developers got the rezone las§May, they still refuse to
produce their Site Plan. l have appended to this flyer the drawing of their
proposed division of QFC Village into live parcels. Parcel 1 is the Q,]EC store
With reduced parking. The City concedes that P_arcel l contains fewer parking
spaces than required for a grocery store~”. This is the first step toward
crowding up the Village. `

lt is past time for the developers to reveal their Site Plan, but this will
not happen unless the public demands it. The City Council and the Planning
Commission have given O'Shea and Lewis virtually everything they have asked
for. There is 110 justification for special waivers_.' Our public officials should
start protecting the public interest

Many of us believed that the developers wére too close to the City. The
City turned over to the developers the job of determining what the
neighborhood wants. ln my previous "QFC Village Rezone Update" three
months ago, I showed that O'Shea formed his company to handle the QFC
Village deal on June 13,1995. Between]une 2451995 and September 27,
1995, he gave relatively large campaign contributions to Peter Orser, Johnl
Nelson, and Linda Jackman, who all voted for tlie QEC Village rezone. I asked
the City Council to reveal the full extent of the relationship of the City to the

 

1City of Mercer Island, 'DSG Perrnit Information "B"‘ulletin, Notice of Application,
Permit #97-1482, September 255 1997. There are actually two divisions, a lot line
revision and a short subdivision, but I omit the details here.

?-F_ot discussion of rezone/ site plan 1ssne see Mercer Island Reporter 2/ 26/ 97 p. A3.

3Me1no from City Planner Ellen Miller~Wolfe to SDavid 5/ 23/ 97 Lot line Revision.

 

 

 

 

.O C\/- -01827- R Document 268- 1 Filed 12/23/10 Pa e 47 of 72
developers, wl'?ic § tl§e Counc' |d_id not do I did not know then whg.t was

recently revealed.
When the Planning Commission met on December Srcl to consider the

waives cammi11111ner_ci1enn_lenherrev_a11m111111_11111_1111;1;111`,111111k
two_months_aftenthe_nezane._he_hegan_husmesstalkmith_the_

daelo.p_ers. Cormnissioner Ledbetter was quite vague about the content of
these talks. It is not clear'whether the Commissioner approached the
developers or the developers approached the Commissioner. The official,
approved minutes of the Planning Commission state that Ledbetter "has
engaged 1n conversations with the applicant [developers] regarding the
possibility of any future sale of the property. "5
Connnissioner ledbetter

supported the rezone of Q_FC Village and he should not profit from that rezone.
None of the other Commissioners voiced any reservations about Commissioner
Ledbetter's business talks with the developers Commissioner Ledbetter didno_t_
agree to end business talks with the developers and implied the talks would
continue€.

We must not allow the politicians and wel_l~"connected developers to
undo what is great about our neighborhood maidng the same mistakes on the
South End of the Island that they have made on the North End.

THE CITY COUNCIL REJECTE.l§) "SENIOR HOUSING"

Many people believe that QFC Village was rezoned for “senior housing“, h_ut_it
minnis Very few people go to City Council meetings and almost everyone
depends on the Reporter to truthfully report, uhich_it_dne.s_np_t.

Conn£ilmanl)l;ser, who' is a developer himself, said at the rezone hearing that
he was "not trying to develop this to design a senior housing community," and that
"the quickest way to that direction, and we can do this legally, is to encumber it
with a fifty-five year old age lirnit. There's (sic) age restricted communities all over
this county... And I'rn not really in favor of doii_;§ tha ."

Ma¥Qr_Clihtmm agreed, also saying at the `r`ezone hearing on May Sth:

"I' d like to j113t clarify that I'm not attempting to
make this a senior -- senior housing development I don't
think that is the unmet need. " 5
But when it was time to deceive the Voters to get elected, Ma¥QI_Qlithm had a
different story in the Octqber 29th election issue; of the Reporter:

"We definite y wanted homes that would be attractive
to retirees - peop e who were trying to move from their
large homes into smaller homes. We-,.never made any

 

 

4Glenn ledbetter was described by the Reporter {9/ 7! 94 p. Al 2) as “a realtor on
Mercer Island. "

5l?lanning Commission, Minutes of Regular Meet;png, 12/3/97, p.l, approved 1/7/98.
6Of`ficial transcript of the pecember 3rd Planning Commission meetiqg', p.4.

4_i

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bones about it. We felt that was an important unmet

need" (Reporter, 1()/29/97, p. A3).

Where is the integrity in this
process?

The City Council meetings are tape recorded I requested a copy of the
official audio tape for the May 5th QPC Village rezone hearing. I have made
copies of the 18- minute segment where the Council discusses what type of
housing it supports "Senior housing" was r_ej_e_cted 111 favor of moderate
houses (maximum 2800 square feet) on smaller lots (average 7200 square
feet) suitable for young professionals with small families I'll be happy to l
supply a free copy of the tape (and transcript) to anyone who wants to hear
what the City Council r_eal]y did. If you believe this deal is about "senior
housing", this tape may change your idea of what kind of City Council and

newspaper we really have_, Y_O_U_BE_'IHE_.IIID_QE.

The rezone is about crowding up the South End of the Island Three uses were
added to the fourteen neighborhood business uses already allowed in QFC Village:

15. High technology, biomedical, or business including
light assembly, clean manufacturing and research
development

16. Single family residences limited to single family
detached single family semi-detached, townhouses,
and patio homes.

17. Commercial public storage facilities, including
screened outdoor storage..

The first and third added uses are business parist uses. The first use wasn't
even mentioned in the Reporter (4/2/97, p. A6; 5/7/97, p. Al). Why would
the City Council allow a business park in the middle of a single family
neighborhood? But the Reporter claims the rezone is about "retirees" who
want to "downsize" (Reporter 5/7/97, p. Al; 10/1/97, p. AZ). The taped
record shows that the Council was not concernedl with retirees and the words
"senior housing", "retiree", or "retirement housing" do not appear in the
revised QFC Village zoning. I have appended to" this flyer much of the
rezoning ordinance for QFC Village, sometimes called the Planned Business
Zone (PBZ), so you can read it for yourself The__ latest article in the Reporter
(12/10/'97, p. A7) drops all reference to "senior housing" and instead refers to
“ two lots for commercial buildings and one for future houses."

I don' t know. The rezone destabilizes QFC yillage. Before the rezone,
the most profitable use of the land was for a grocery store, which has been
there for over 35 years. After the rezone, the owners have options that were
not there before, such as a business park or housing for young professionals
with small families.

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'.p'\..:

 

 

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Documents7 led with the City of Mercer island indicate that developers

O'Shea and Lewis have the right to acquire the QFC store and parking (Parcel
1) if it ceases to operate as a grocery storer

_EARQEL_.L[QEQ_SIQELURCHASE_BIGHIS

6.1 So long as So`uth Mercer Center, L.L.C. ('.‘SMC") [r_he developers
company] is not in default under this Agreement or the Common Area
Maintenance Agreement, if at any time during the term of this Declaration: (1) QFC
elects to sell all or a portion of Parcel 1, (2) QFC elects to lease the entire existing
building located on Parc;el l for any use other diana grocery store or (3) QFC
ceases to operate a grocery store on Parcel 1 for an_; uninterrupted period of five(§)
months, SMC shall have the time periods described below in which to exercise its
right to acquire that portion of Parcel 1 to be sold, leased or closed as provided
above."

Evidently, the developers believe that the closing of QFC is enough of a
possibility that they need to protect themselves with a purchase rights section.

Woody Allen once said that 80% of success is showing up. That's the
way the City Council work_s. At the April 21st Council meeting that considered
the rezone, Councilmember Orser stated the formula: if not very many people
show up, then they are doing a good job. The more people show up, the
worse they are doing.

The meeting to consider the special waiver starts at 7: 30PM this Monday
(February 2nd) in Council chambers at City Halll City Hall is located at 9611 SE
36th, between the bottom of Gallagher Hill and the East Channel Bridge to _
Bellevue. `

` The Mercer Island Reporter has been providing biased coverage of the
Ql=C rezone. For example, in the story on the December 3rd Planning
Commission meeting where the waiver was granted the Reporter (12/10/97,
p. Al) ran the headline, "Developers must submit site plan for Q_FC Village, "
which is the opposite of what happened lfyou are interested in receiving
information on what is happening at QFC Village, fill out the form below and
send it to me.

Ira B. Appelman

6213 83rd Place S ..E

Mercer lsland, WA 98040-4915
2 32- 8 5 l l
IBAppe]man@worldnet.att.net

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7D'eclaration of Restrictions and Grant of Easements, 1 1/10/97, pp. 1 1»12.

 

 

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EXhibit X

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+ EXhibit Y

 

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'EXhibit Z

 

 

 

 

    
   
  
   
  
  
    
 
  
  
    
  
  
   

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Exhibit AA

 

 

 

Letterto
lslanders
accuses city
of secrecy,
misconduct

Detalls"about Lindell
lawsuit distributed to
thousands of leland
households

By Mary L. Grady
Mercer leland Reporter `

Thousands el islands-rs have
received a fat envelope with
extra postage from the Mer-
cer leland Communlty Coun~-
cil. Many asked themselves
“who ls this?”

The envelope contained a
sheaf of papers regarding the
hiring of the former city attor
ney and assistant city man-

ager, Londi l,indell, and a host 7

of accusations about the City
Councll and City Managcr,
Rich Conrad.

The return address of ’l'hc
Mercer leland Community
Council ls the home o[ long-
time lslander and city activist
lra Appeln-.1an Appelnian ls thc
, sole member of the Mercel ls»
land Cowununi{y Cod`noil See
related story on page AS

In his letter to lslanders,
Appelmao says the thing and
subsequent lawsuit filed by
Lindell against members ol
the City Councll, Conrad and
other city employees illus
trates what he believes is the
“cover»up of misconduct and
alleged misconduct at City
Hall” and that the City Coun
oil “conducts its business in
secret.”

At the heart of the matter is
the firing by the city of Lin
dell just a year ago, Lindell’s
flrng also relates to the res-
ignation of Bol) Stcrbank.
who was paid a 3137`,[}00 set-7
tlement after just 10 months
as city attorneyl

The story begins in 2007
with the illness and death of
longtime Assistant City Nlan-
ager Deb Symmonds. City Al-
torney Lindell was promoted
to till her place and later as~
sisted in hiring her own re

placement She encouraged

ease 2 08-atesaehna1 avenue

and co-worker, Bob Sterbaok,
who previously worked with
her at the city of F ederal Way.
Sterbank, who was living in
_Olympia at the time, was hired
in early 20()7. Originally set to
begin work m Merch or early
Aprll e-'mails and correspon-

. donee obtained bill the Re`;oor't~`

er indicate that Sterbank had

an extended transition time

Sterbank, who is married‘with
a young-chlld,_ appears not to
have worked fulltime at City
Hall until September 2007, cit-'
ing problems with=bnding suit-
able child care among other
issues Sterbanl ltdid however.

report that he was working

.trom home a good deal E“

mails from Sterbank report-
ingin on days away;from the
oflice.. and complaints from

` those who were waiting for

completed work give the im-
preesion that ther-e- was frus-
nation over unfinished legal
worlt.

lanier that year a situation

ty as city attorney sent a

memo to Conrad' tn effect

warning him that it ap-
peared that he and Segle
were having an improper
relationship Conrad had
been disciplined for an
improper relationship
with a former employee
in 2003.- T_he employee
resigned her position
and received a $`90_;000
severance payment Con-
rad then was required to
attend sexual and anti~
harassment l training,
take time off without pay
and had to forge a raise
the following yeah
However, the oflic:lal

.memo dated Gc:t. 116,

20031, from then-mayor
Alan' Merkle to Conrad
regarding the complaint
stated that an investi-
gallon into the matter
“leatls to the conclu-

_ Sion that you have not

cngaged in quid pro

fquo sexual harassment

regarding this City’S Hu-
man Resources Difec-
tor, Kryss Segle began
to unfold regarding her
husband, John S'egle,
who also works for thc
city. The city’s nepotism
policy does allow family
members to work at the
city under certain condi-
tions Kryss Segle’s posi-
tion in Human Resources
meant that she could not
be involved with employ-
ment or performance
issues regarding _ her
husband Y_et she did get
involved in a union griev-

ance filed by her hus-

band after`a disciplinary
action was died against
him. By all accounts
Ms Segle intervened
improperly on' these is-`
sues and there was a
backlash. In the after~\

math, Conrad, . worried 7

that Kryss Se_gle W.ould
quit, stepped in and said
if Segle’s husband would
rip up his grievance
the notice of discipline
would be removed from
his permwent flie.

What many would con-
sider a minor incident m
the imprecise business
of managing people be-
came the basis for a
struggle over leadership
attheolty. -.,1- '

;-g`i- ' ‘

and that your conduct
has not created a hos-
tile work environment.”

The memo does go on
to say that Conrad, in his
position, must be held
to a stricter standard in
regard to maintaining
a positive work environ-
ment. Lindell was city at-
torney at the time of the
investigation - and would
have ‘ presumably pre-
pared or reviewed the
memo. 7

E-mails indicate that
Segle and her boss,
Conrad, do have a close
working and personal
relationship Conrad and
Segl'e often met outside
work`, as did other city
employees presumably
to unwind and discuss
city business Simjlar
communications indi-
cated-the same type of
relationship between
Conrad and other city
directors including Lin-
dell and l7~1?01'1'1‘1».=.1‘ 'Parks
and Recrcation Director
Pete Mayer.

Conrad and Segle deny _
a romantic relationship _

A statement obtained
by the Reporter; prepared
by _City;_l"_`lnance -l_Jirector

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gilll:u`t`§éhvi§ii’§l ill

situation Corder wrote 7

that Lindell and Ster-
bank took on the role of
whistleblowers to under-
mine Conrad's authority
and promote their own
agencies and ambitlons.
There was speculation
that Lindell was hoping
for the city manager job
herself

111 late 2007, a retreat
for city management
was conducted to clear
the air. And later, a more
formal investigation into-
Conrad’s behavior Was
begun. Alarmed by the
sequence of events, three
members of the City
Council later stopped
the investigation in an
executive session, gave
their support to Conrad
and further- decided i-`n
December that Lindell
and Sterbank should be
let go.

Weeks later, Sterba:nk
resigned and settled With
the city,` signing a sever-
ance agreement that
assured he would not
pursue any legal action
against the city. He Was
paid $137, 000. Lindell
did not resign, was fired
in April 2008 and filed a
claim against the city for
an unlawful termination
She later filed a lawsuit

in U.S. DistrictCou-rt, in
which she details what
,she considers to be an
ongoing annospbere of
sexual discrimination
and harassment at the
city and that there have
been repeated violations
of the state Open Public
Meetlngs Ac_t. Lindell
points out that she had
received a rating of “out-
standing performance”
in her annual perfor_»
mance evaluations for
her work at the clty.

Defen'dants owned in
Lbrdell’s'sui`t are Mayor
Jim Pear_man, City Coun-
ollman El ]ah`ncke, Cordl
er and Conrad. 'Ihe legal
process regarding these
claims is underway No
trial date has been-set

 

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EXhibit BB

 

Case 2:08-cV-01827-.]LR Document 268-1 Filed 12/23/10 Page 59 of 72

What is the "f' "

:7'-`-7-ercer ls and `:'v~ommumty Council?’

Mary L. Grady
Mercer island Reporter
leland resident lra Ap-
pelman is the sole sig-n~
er, ofhcer and apparent
only member of the
Mercer Island Commu-
nity Council, founded in
2001.

Appelman is a longtime
civic activist who focus-
es on the workings of
the Mercer island City.
Council. He- often points
out that he has attend-
ed all but a handful of
the Mercer leland City
Council meetings over
the past 12 years He
sits in the same spot on
the left~hand side of the
front row at each City
Council meeting, and
until the Council began
televising its meetings
last summer, recorded
each meeting on a tape
recorder held high.

Appelman has criti-
cized or opposed several
actions of the Council on
a variety of topics over
the years Exampies in-
clude his opposition to
the tree ordinance ini-
tially proposed in 2001,
gathering nearly 4,900
signatures to overturn
the City Council's ini-
tial ordinance He was
against the parks op-
eration levy for Luther

 

Burbank Park -_in 2093,
which did pass, and later
opposed the two parks
measures that were on

the November 2098 hal-7

lot, saylog;that the lcity
was imposing too many
taxes on Islander`s. .In
a Forum printed in
the Reporter on Cot. 8,

2008, Appelman, along
with ls-land_ers Marty

and 'l`liotrnton Gfal_e, ac~

`cused the city of creat-

ing a “slush fund to be
used as the City7.C.ouucil
dictal;es’»’ " 7

Appelman has said that `

he is “-for open a`n'd hon-

es_t government some-y
7 `lhaea§l do

z

 

in his letters sent to
lslanders recently Ap-
pelman goes beyond the
issue of londi hindell' s
lawsuit against the city
to include a litany of
complaints against the
city, primarily accus-
ing the City `Cou~ncil of
secreoy.7 l-Ie lists city
actions regarding the

higher density hous-l
ing briefly proposed
for Fi.rst Hill', the r“invi-

tation"’ to "l`ent` City 4,
changes to island Crest
Way at Merrirnount
and city involvement in
the Boys & Gi~rl'sl Club
PEAK project.as other

    

  

examples of “secrecy

and manipulationj” He
accuses"i_the city of vio»
lattng: the `Op'en Public
Meetings Act, which
Lindell also does in her

. lawsuit against the cita'r.` `
_ Appeiman states that

his`7 goal is “open and
honest government"
and ensuring .th"at citi-
zens`do'not'payformore
than what they need'."I-n
his argument against

`th_e 2008 parks funding

measures he makes the

‘ case that the operations
levyt;or l-;uther'Burbank
in 2003 was promised
by the city to be a “one- .:
time dealt " Yet-.- the city
`was again looking for

funds live years later

is well prepared He of-

.te'n requests records
-fr`om the eity~regarding

Council actions andcity
business According to

' data kept by the city re-
garding public data re-`
quests made by citizens
onel quarter of the total

amou-nt_.of staff lime`re
quir_ed `t_o. process-these

requests or; 218 hours for 7
the first three months of l

2002-.7 was»taken up pro-

"cyc_le.
Enclosed
Appelman is no ordi-"

t:ion regarding the city’ s
e~mails. and documents
on the `Merrimount-
ICW intersection alone.
Those.hours do not in-
clude times and charges
for outside attorneys to
review the documents
for attorney-client privi-
leged communications
before they are re-
leased.

According to City At~
torney Katie `Kuight,
about SI‘O,'UOO is budget-
ed each year for such
review._ Knight-said she
has already asked for
more money to pay for

,7.outside legal review in `_
stv Ntly budg&t

   

in Appel-
man s mailing to lsland»
ers is a pink envelope
asking for contributions
to defray the cost of the
mailing and other ex-
penses.

Recorcls from the state
Public 7D'isc1'osure Com-
mission show that the
Mercer Island Com-

mun-ity C_ouncil spent

$i, 690 on postage in the

firstt-hree months of the
this year._

Assummg that

the recent mailing and

the postage on each 7`
7, envelope was 59 cents

 

the 471
money was spent on ~'

 

 

the equivalent of 2,700
households have re-
ceived his mailing. The
letter also included a
pink envelope to defray
expenses The PDC
shows the names and
addresses of a dozen
Islanders who have con-
tributed a total of about
$1,200 so far.

For more information
about the Mercer island
Community Councii, go to
www. pdc. wa. gov.

 

 

 

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EXhibit CC

 

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Case 2:08- ,- - ~ `

s:sREPORTE 31 -

SERV|NG THE MERCER lSLAND COMMUN|TY SlNC-E 1947

 

navy 1.. crady, Editor `
'Sandy Payson, Pub|lsher

Publlshed by sound Publishtng, ma

 

 

` Motives for mallings

7 7 hat are the motives behind the mailings sent to
` |slanders regarding the firing of former city offi-
, 7 cial tondi tindall and allegations of secrecy and
' 777decepnon at City Hall? 7 '7
fln77 a letter sent to thousands of Island households ls-
lander lra;Appefman with ..the assistance of documents
71 and~lllcely the urging»7of` Mstlnclell, warnscitizens of
mismanagement and secrecyat City l-la|l. Ms. Lindell has 7
7 filed-i-n'federal court asking formonetarydamages alleg-
ing, among other things, sexual harassment |acl< of due
` process and retaliation by city leaders Who fired her last
' 7 year.
7 Our story on page ‘l attempts to describe the events that
7 led to the firing of lvl`s-. Lindell Yet facts are not always
1 7 helpful when trying to describe the 1:1`>rnple11l interactions
_' of human beings m the workpiece '
After talking to 7-many, reading hundreds oi pages of e-
mails memos and other documents it is clear that no
- one is completely without some blame nere. But is the
foss about bad behavior, some poor judgment or criminal
7i`nten`t?
What' ls troubling is theway that Ms. L-'rndel| may be us-
: ing her access to what would'ordinarily tie-privileged and
protected communications"to build her case._» at least in
" 7 the7public7'$7~eye. But the letter goes'~beyond-the particulars
of.Llndell.'s dismissal toaddr;essi-a much bmader rangeof
alleged abuses byithe clty.rltp'pea rs that the real mission
ris_'tc`): S'ow mistrust and animosity toward City lvlanager
‘ ‘Rlch' Conrad~. the City Co‘uncil and City l-l~allitself.
M'_r. Appelrna'n has beenilong associated with campaigns
of this type. 7.Mr Appe|man, who has attended all but a ‘
7 handful of City `C`ouricil meetings over the past decade
' is m0re than eager it appears to find any 7vvay he con to
discredit the city
And what of the -Clty Cou-nci|‘ s role' in all of tni57? Elect~»
_ ed by us it ls ultimately theiri charge to determine how
City l-|all 157 run and to make changes when they feel it is
necessary f.`_ity l(1011n.c'llrmsmbers did so in late December
-of 2907 When they decided to support Nlr. Conrad and
- remove lvls_. Lindell
7As citizens we cannot and v_vl|l not tolerate sexual ha-
' 7.rass`_ment or secrecy -W'it`hin 0171_\" city- government We wel‘
77_co'r_ne the efforts of individuals who ask hard questions
7 and probe a bit further to find out the truth. But in this

 

 

 
   

 

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sealed mathiason b1'-zhind_17l _7

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EXhibit DD

 

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From: A¥i Spletz A!i,§gi§tz@mercergov.ol_'g

To: Mary Grady mgrady@mi-reporter.com

Cc: Katie Knight Katie.l<night@meroergov.org

Sub]ect: Additiona| informaiion requested

Date: 4!912009 2228:53 PM `

Attaohments: Lindeils Amended Answer to Defendants Counterc|aims. pdf; Mercer |sland Community
Cuuncil Articles__20090302131704.pdf; MICC_ Annua| Reports_ 20090309130747. pdf; M¥ Community
Council PDC Fon'ns. pdf

 

Hi Mary,

Attached are documents that Katie asked l send to you. Please let me know if you have any
questions

Ali'
<<Linde|l's Amended Answer to Defendant's Counterclalms.pdf>> <<Mercer island Community Council

Artides_20090302131704.pdf>> <<MlCC Annua| Reports_20090309130'1'47.pdf>> <<MI Community Counci|
PDC Furrns.pdf>>

Ali Spietz-, CMC | City C|er_k, City of Mercer island

P: 206.2?5.7793 F: 206.275.?663 l www.merce[gov.o[g

NOTICE OF PUBLIC Df$CfO$URE: This e»mai! account rs pub!fc domain. Any correspondence from or to this `e-mm'! account
may be a pubfic record Accardingljr, this e-mar'l', in whole or in part, may be subject to disc!asare pursuant ra RCW 42 55, ‘
regardless af any claim of confidentiality or privilege asserted by an external par£y.

 

 

 

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EXhibit EE

 

 

 

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Ali SEietz ' ~

From: Ali Spietz

Sent: Friday, April 03, 2009 12:29 PlVl

To: _ llillary' Grady‘; 'Elizabeth Ce|ms'

Cc: Katie Knight; Joy Johnston

Subiect: HE: dollars spent on fulfilling public information requests
Attachments: Public Fleoords Flequest for M|Fl.xlsm; PFlFl DATA.pdf

lvlary and Elizabeth,

This email responds to your request for "the amount of dollars the City has spent fulfilling public information requests
and for whom, including the Mercer island Reporter, for 2006, 2007, 2008 and VTD 2009." Thank you for your patience
in receiving this information The City does not track and has no practical means of calculating the actual cost of
responding to public lnformation requests However, the Crty does track the amount of time City staff members spend
responding to requests made under the Public Records Act.

An Excel spreadsheet that details the time City staff has spent on individual requests over the last four years is attached
for your reference Whlle this spreadsheet does not directly answer the question of how many dollars the City spends
on fulfilling public information requests, we hope that it assists you to understand the amount of time the City spends
responding to public records requests Each sheet (by year} contains the name of the requestor, a brief description of
the request, the date the request was received how many staff worked on the request and the total staff time spent
responding to the request Any blue highlights indicate a request that was handled by internal staff and outside counsel
{staff time noted' is only for internal staff outside counsel time is not noted).

To help summarize the information in the spreadsheets, l created the attached PDF document that summarizes the data
regarding our records requests for the past 4 years. - -

Please note that although the Public Records Act does not require the City to create documents in response to a records
request [see WAC 44-14-04003{5)}, l created these documents as a courtesy to help you obtain the information you are
looking for.

lf you have any questions about the'data in the attached documents or about specific requests, please let me know and
l’d be happy to go over lt with you. lf you would like salary information to quantify staff time spent on records requests
please contact me. -

Please note that beyond staff time, there are additional costs the City incurs to respond to public records requests (e.g.
overhead costs, training costs, and supplies). `,'l‘he City cannot recover these costs from requesters The only costs we
can pass on to requesters is the per page cost of any copies that are provided to the requestor. The City cannot charge
the requester for its time and costs spent retrieving, inspecting redactlng, and/or copying the documents t_o make them
available for inspection. See WAC 44-14-070 and 44»14-07001.

Again, l thank you for your patience and l hope this information helps you better understand the City's costs in
responding to public records requests.

Ali

Ali Spietz, CMC l City Clerk, City of Mercer island

P: 206. 275. 7793 F: 205. 275. 7663 l www mercerggv. org NOTICE OF PUBL|C DlSCLOSURE: This e~mail account is public
domain. Any correspondence from or to this e-mai| account may be a public record. According|y, this e-mail in whole or
in part, may be subject to disclosure pursuant to RCW 42.56-, regardless of any claim of conhdentiality or privilege
asserted by an external party. -

 

 

 

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Exhibit FF

 

 

 

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Exhibit GG

Ele¢iomhlingasnrpcismtoc-City@oow@ilqage 69 of 72
_Appelman to run against Grausz

B}' MABE_IH__CELM§
Mercer Island Reporter City chorter
Jun 09 2009

 

 

Throe Mercer Island City Council members arc running for rts-election this November. Councilmcmbcr
and Mayor Jim Pearmao Will be rlmning for Position 4, incumbent Mike Grady will run for Position 6
and incumbent Dan Grausz will mn for Positioo 2, competing with Island citizen lra Appelman. The
names were made ohicial on June 5, the last day for King County candidates to file for office

Bccausc Pcarman and Grady stemming unopposed,they will mtmmhmdsfmacmpm@ Grausz
and Appelman, who will be owning for City Council for the first time, begin their campaigns for Pos. 2
this month.

Councilmcmber Grausz announced that bc would be owning for res-election in February. He learned that
he would be running against Appehnan last Friday,

“'I'his doesn’t change my approach This is the fourth time I’vc run, and every time before I’ve had an
opponeht. This is the way the system works. lt gives people a choice,” Grausz said, adding that he
would begin raising funds for his campaign this wcek.

An Island resident since 1989, Grausz has served on thc City Council for nine ycars. He lirst entered
Island politics in 1999 on a two-year term. Hc was then rc-elccted in 2001 and again in 2005.

This ycar, Grausz’s main priorities arc creating a sociahle Town Centcr, improving Island parks and
balliields, and protecting the city’s open spaces

“I want to make sure we have a vision for the Town Center. Wc have good developth right oow, and
with the light rail that‘s coming in the next 10 years, we have thc opporhmity to really turn the Town
Conter into a much greater asset for our community,” Grausz told the Reporter earlier this ycar.

Appclman will be running for City Council for the tirst timc. However, he has been actively involved
with Council issues and has attended nearly every meeting in the past 10 years. The Island residcut’s
main objective is to ensure “opcn and honest” governance

“I’d like to put the public in charge of governmcnt, because that’s not the way it‘s working right now.
As soon as members get on the Council, it becomes a clubby, insider group and the public doesn’t
matter in their decisions,” Appehnan said, adding that he intends to change this. “l’m attempting to set
the highest educational standard on MI for public debate I have audiotapes. l have documents You
shouldh’t debate anything unless you have the cvidence.”

Appchnan has a Ph.D. in cxperhnental psychology ti'om Stanford Univcrsity.

Councilmcmber Grady, who will be entering his second tcrm, places a high priority on environmental
issues; in particular, introducing more clean-fuel cars to the Island.

“It’s a good time now [to be on the City Council], particularly with climate change and energy
cfticieocy,” Grady said, adding that he hopes to supply Island parking lots with ret-charging facilities for
electric cars.

Island Mayor Jim Pcarman said that he was not originally planning to run for a third term this
\November; however, the escalating economic crisis compelled him to keep his seat

“I don’t think this is thc right time for me to exit,” he said. “Wc’rc making some new decisions in the
sense of revenue streams. This isn’t thc time to break someone in and train them. You need somebody

with expertise to make decisions that will impact the budget like never bcfore.”

Askccl if he would consider accepting the position of mayor once again, if elected by the tilture Council,
Pearman was ambivalent

“For the next two ycars, I would be interested in being mayor. But the time commitment is absolutely
hugc. 'I'here is a lot of behind-the-scenes work you don’t see," said the mcmnbcnt, who 1s the father of

two daughters.

More detail about MI. Appchnan and his campaign views will be published in the Reporter in a coming
issue

 

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EXhibit HH

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Mercer island Community Council
6213 ss"‘ Place s.E.
Mercer lsland, WA 98040-4915
December 23, 2010
Dear Fellow lslander:

in 2009, | wrote ls|andors warning of a continuing cover-up of misconduct and alleged misconduct at
Mercer |sland City Ha|l that could cost taxpayers millions of dollars. Former City Attorney Londi Lindell
is suing the City in federal court for sexual harassment l have copies of invoices that show that outside
attorneys have charged $430,000 to defend the City through june 2010. l believe through November
the charges have exceeded $700,000. With a trial set for April 4, 2011, attorney’s fees to defend the
City will top $1,000,000, and that doesn't include City staff time such as the City Attorney's time.

l have enclosed a DVD that presents Linde||'s case against the City. The 415-minute DVD, which plays
on your TV or computer, was obtained from the United States District Court, Westem District of
Washington at Seatt|e, and is part of the record of this case.- The DVD includes video of under-oath
depositions (starting about 3 minutes into the presentation) of City Manager Rich Conrad, Mayor
Pearman, and City Attorney Katie l(night.

Here are the facts and issues as outlined in Court documents and other available information:

The Prgpgsition for Sex, On or around 2001, City Mana'ger Rich Conrad propositioned for sex one of
his female employees, City Clerk Tina Eggers, a young married woman with children. She refused
Consistent with City policy, Eggers reported the lncident to Human Resources Manager Kryss Seg|e, a
known confident of Conrad, and Seg|e covered up the incident ln 2003, Eggers filed a sexual harassment
complaint against Conrad. Conrad admits to all this under oath on the DVD and in other filings

As a result, the woman, Eggers, was booth out of the City, with a $90,000 “sett|ement" payment
The man, Conrad, was given token discipline including a week without pay. As the DVD shows, Conrad
believes he was disciplined for making an employee “uncomfortable,” and Conrad says that
propositioning for sex a woman in his employ did not violate_the City’s sexual harassment policy. ln
letters circulated among staff, it was falsely claimed that Eggers, who had led the City’s website
development, was leaving because she had decided to set up a company to market her website skil|s.
The Councilmernbers responsible for supervising Conrad during this incident were A|an Merkle [Mayor),
Bryan Calrns [Deputy Mayor], Dan Grausz, E| lahncke, .lirn Pearman, Susan Blake, and Sven Goldmanis.

Segle Dlscimlne. The immediate cause of the Lindell lawsuit began in June 2007. City employee
lohn Seg|e and other male employees were viewing sexually explicit material on a city computer at
work. When management called a meeting to remind them that was unacceptable behavior, lohn Seg|e
made a remark that management took as insubordinate lt was decided that Seg|e would receive minor
discipline, a written warning That would have ended the matter except for the following:

|n 2006, |<ryss Segle, john Seg|e's wife, was promoted to Human Resources Director in violation of
the City's Nepotism Policy, which prohibits a spouse of a director from working at the City. Kryss Seg|e
was instructed that someone else would serve as human resources director for her husband's
employment, and she was prohibited from involving herself.

|n response to the written warning, john Segle submitted a grievance that was drafted by his wife,
Kryss Segle, even though, as director, she was supposed to represent the City and she had been
prohibited from involving herself in his employment Furthermore, Kryss Segle intervened with City
Manager Conrad threatening to resign if he didn' t reverse lohn Segle' s discipline which Conrad
eventually did. That would have ended the matter except for the following:

Sterbank Memg. City Attorney Bob Sterbank found out about the Segle discipline matter and was
told by City Manager Conrad that Conrad had not sought City Attorney Sterbank's advice, because he

 

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knew what the advice would be and didn't want to follow it. |n response, City Attorney Sterbank wrote
a legal memo outlining the risks to the City for Conrad's actions. l have enclosed a copy of the memo.
The City at first violated a federal court order to keep the memo from the public, so it’s worth reading.

|n response to the Sterbank memo criticizing the City Manager's actions, Conrad hired an outside
investigator, Marcella Reed, to help clear his name. Reed, however, found that ”|<ryss Segle has violated
the City's Ethics Code,” and '”l'he City Manager has potentially violated the City’s Ethics Code. “ Reed
recommended that Conrad be fired. With the City <I.ouncil'sl approval, Conrad terminated Reed's
investigation Sterbank and Lindell were eventually terminated for opposing the actions of Conrad.

Mel=lashin__gmgj_dg. in a related incident i<ryss Segie , as Human Resources Director, was
conducting an exit interview with a retiring police officer. According to Segle, she was not wearing
underwear and she ”flashed” the police officer. Segle related this incident to a number of people. it is
not clear in the record whether the incident actually occurred, though it may become clearer during the
tria|. lt is clear that Seg|e said she had done it.

ls Mgrcer island a Vglueless€ommunig?

When City Manager Conrad admitted on the DVD that he had solicited sex from an employee and
then claimed it wasn't against City policy, l was hoping he would be asked if he had solicited sex from
any other employees since he believed it wasn’t against City policy. As the DVD suggests, the cover
story was that Conrad made an employee "uncomfortable,.¢'_ which is the exact phrase fenner Mayor
Merkle used in describing the incident to the Seattie Times (10/30/09, p. BZ). They obviously didn't
think Conrad would ever be questioned under gg_;h and be forced to admit the proposition for sex. No
councilmember, then or now, has publicly objected to Conrad's behavior. Since l broke this story with
my 2009 mailing to ls|anders, l have been made aware that;a significant segment of ls|anders either
doesn't disapprove of or doesn't ca re about Conrad’s misconduct and alleged misconduct ls the City
Ma nager' s proposition and subsequent cover¢up really consistent with the values of Mercer ls|anders?

Sggreg_, Maniguig'onl and lllggitimatg Ggy_e;r_\_r_nggt

Linde|l’s complaint is important because it is the first time an insider has revealed what really goes
on at City Hall, out of public view. | arn for open government something we do not have. | have
attended every meeting of the City Counci| for over thirteen years, and l believe the City Counci|
typically conducts its business in an illegitimate way. ln other mailings, l have provided many examples

l am hoping if it can be shown how illegitimate, secretive, and manipulative our current City Counci|
is, then ls|anders will demand that we move closer to a iegitimate, open and honest government That
is why | am asking for your help to circulate the DVD, so ls|anders can see actual testimony of appointed
and elected officials engaged in illegitimate activity.

lt costs thousands of dollars and hours of uncompensated time to circulate these materials if the
Mercer island Distorter was doing its job instead of joining in the cover-up, these mailings would not be
necessary. |f you agree this matter is important enough to bring to the attention of lsianders, | am
asking you to send a check for your most generous contribution in the enclosed return envelope made
out to the Mercer Island Community Council.

Thank you,

03 cyp\`_,

|ra B. Appe|man
Mercer island Community Counci|

appe|man@bmi.net
(206) 232-5611

